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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )         8:07CR368
                      Plaintiff,                )
                                                )           ORDER
               vs.                              )
                                                )
DARREL EDWARD FORD,                             )
                                                )
                      Defendant.                )


         Defendant’s motion to continue the plea hearing (Filing No. 50) is granted.

      IT IS ORDERED that the Change of Plea hearing is continued to March 4, 2008 at
2:30 p.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between February 19, 2008 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present unless excused by the
Court.

         DATED this 19th day of February, 2008.
                                              BY THE COURT:


                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
